            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

v.                                            4:18CR76-RH

JOHN THOMAS BURNETTE.
_________________________________/


                              NOTICE OF APPEAL

      Notice is given that Defendant John Thomas Burnette hereby appeals to the

United States Court of Appeals for the Eleventh Circuit from the final judgment of

the district court entered in this action on November 12, 2021 (“Judgment”) (ECF

No. 514); from any and all adverse rulings incorporated in, antecedent to, or ancillary

to the Judgment; and from any and all adverse interlocutory orders, judgments,

decrees, decisions, rulings, and opinions that merged into and became part of the

Judgment, that shaped the Judgment, that are related to the Judgment, or upon which

the Judgment is based.


 Dated: November 12, 2021                  Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on November 12, 2021, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.

                                                /s/ Gregory W. Kehoe
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